          Case 2:09-cr-00501-SRC
Aug 06 10 11:03a
                                                Document 84        Filed 08/09/10     Page 1 of 2 PageID: 304
                        Andys                                                        201 659 9250                p.2
 rax sent.




               Abrams & Wofsy, Esqs.
               255 Newark Avenue
               Jersey City, New Jersey 07302
               (201) 659-5500                                    UNITED STATES DISTRICT COURT
                                                                 DISTRICT OF NEW JERSEY
                                                                 CRiMINAL NO. 09-501 (SRC)
               UNITED STAlES OF AMERICA                          CRIMINAL NO, 09-863 (SRC)

                             vs.                                 ORDER

               PETER VENTRICELLI,

                                   Defendant.


                          This matter being opened to the Court by Abrams & Wofsy, Esqs., attorneys for

               defendant, Peter VentriceUi, Andrew C. Abranis, Esq. appearing in the presence of the United

                   Stated attorney for the District of New Jersey, Assistant United States Attorney Leslie Fayc

               Schwartz appearing, for an Order modifying the terms of the previous “Order Setting Conditions

               of Release” dated November 19, 2009, specifically by changing the defendant’s classification of

               “Home Confinement” and amending it to one of ‘Home Detention” so as to allow for this

                   defendant to be employed in a manner approved by the pretrial service olicc or supervising

                   officer, and the United States Attorney having no objections and good cause being shown;

                          1TIS on this          i’        day of August, 2010,

                          ORDERED that the November 19, 2009 “Order Setting Conditions of Release” be

                   modified to reflect a change in defendant Peter Ventricelli ‘s requirement of “Home

                   Incarcerstion” and amending it to a designation of “Home Detention” for said defendant; and

                          IT IS FURTHER ORDERED that the newly imposed “Home Detention” designation

                   shall require defendant. Peter Ventiicdlli to be restricted to his residence at all times except for

                   employment education; religious services; medical; substance abuse; or mental health treatment;

                   attmey visits; court appearances; court-ordered obligations; or other activities as pre-approved

                   by the pretrial services office or supervising officer; and
          Case 2:09-cr-00501-SRC
Aug 06 10 11:04a
                                           Document 84        Filed 08/09/10          Page 2 of 2 PageID: 305
                     Andys                                                       201 6 9250               p.3



                      IT iS FURTHER ORDERED that all other terms of release imposed in connection with

               Crim. Nos. 09-501 azid 09-863 shall remain in full force aid effect,




                                                                    Ior. Stanley R. Cheskr
                                                                  United Stales District Court Judge



               I conseni to the forni and entry
